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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

In re:                                                      Case No. 6:21-bk-00001-GER
         KAMLESH VADHER

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Laurie K. Weatherford, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 01/04/2021.

         2) The plan was confirmed on 09/09/2021.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
12/17/2021, 05/26/2022, 08/26/2022.

       4) The trustee filed action to remedy default by the debtor in performance under the plan on
11/10/2021, 06/06/2022, 07/13/2022, 10/04/2022.

         5) The case was Dismissed on 11/07/2022.

         6) Number of months from filing or conversion to last payment: 0.

         7) Number of months case was pending: 24.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $1,061.00.

         10) Amount of unsecured claims discharged without full payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

           Total paid by or on behalf of the debtor           $23,157.30
           Less amount refunded to debtor                        $194.29

NET RECEIPTS:                                                                                   $22,963.01


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $7,000.00
    Court Costs                                                               $0.00
    Trustee Expenses & Compensation                                       $1,432.17
    Other                                                                   $650.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                 $9,082.17

Attorney fees paid and disclosed by debtor:                      $0.00


Scheduled Creditors:
Creditor                                        Claim         Claim           Claim       Principal     Int.
Name                                Class     Scheduled      Asserted        Allowed        Paid        Paid
ACCESS MANAGEMENT                Secured             0.00      6,160.00        6,160.00          0.00      0.00
ACCESS MANAGEMENT                Secured             0.00      6,161.04        6,161.04          0.00      0.00
ACCESS MANAGEMENT                Unsecured            NA      19,474.83       19,474.83        194.75      0.00
BANCO POPULAR                    Unsecured         149.00           NA              NA           0.00      0.00
BANCO POPULAR                    Unsecured         306.00           NA              NA           0.00      0.00
BLACK CUB, LLC                   Secured         7,008.77      7,359.21        7,359.21      1,425.84      0.00
CRD PRT ASSO                     Unsecured       1,086.00           NA              NA           0.00      0.00
DIVERSIFIED CONSULTANT           Unsecured         841.00           NA              NA           0.00      0.00
EOS CCA                          Unsecured         414.00           NA              NA           0.00      0.00
FAYFINANCIAL                     Unsecured           0.00           NA              NA           0.00      0.00
FLORIDA DEPARTMENT OF REVEN      Priority       94,118.00     50,454.23       50,454.23          0.00      0.00
FLORIDA DEPARTMENT OF REVEN      Unsecured           0.00     50,454.23       50,454.23        504.54      0.00
INTERNAL REVENUE SERVICE         Priority             NA       2,959.98        3,191.00        797.76      0.00
ORANGE COUNTY CEB                Unsecured           0.00           NA              NA           0.00      0.00
ORANGE COUNTY TAX COLLECTO       Secured              NA       6,783.90       12,685.49        761.16      0.00
PHH MORTGAGE SERVICES            Secured             0.00      2,790.00        2,790.00        896.79      0.00
PHH MORTGAGE SERVICES            Secured       494,849.41    577,312.88            0.00      9,300.00      0.00




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Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
Secured Payments:
      Mortgage Ongoing                                         $0.00         $9,300.00               $0.00
      Mortgage Arrearage                                       $0.00             $0.00               $0.00
      Debt Secured by Vehicle                                  $0.00             $0.00               $0.00
      All Other Secured                                   $35,155.74         $3,083.79               $0.00
TOTAL SECURED:                                            $35,155.74        $12,383.79               $0.00

Priority Unsecured Payments:
       Domestic Support Arrearage                              $0.00              $0.00              $0.00
       Domestic Support Ongoing                                $0.00              $0.00              $0.00
       All Other Priority                                 $53,645.23            $797.76              $0.00
TOTAL PRIORITY:                                           $53,645.23            $797.76              $0.00

GENERAL UNSECURED PAYMENTS:                               $69,929.06            $699.29              $0.00

Disbursements:

         Expenses of Administration                             $9,082.17
         Disbursements to Creditors                            $13,880.84

TOTAL DISBURSEMENTS :                                                                       $22,963.01


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all administrative
matters for which the trustee is responsible have been completed. The trustee requests a final decree be
entered that discharges the trustee and grants such other relief as may be just and proper .

Dated: 01/09/2023
                                              By:/s/ Laurie K. Weatherford
                                                                     Trustee
STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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